    Case 1:18-cv-00553-RMC Document 32-7 Filed 05/30/18 Page 1 of 5



 

 

 

 

 

 

 

 

 

 

 

 

 



                    EXHIBIT E
 

 

 
Case 1:18-cv-00553-RMC Document 32-7 Filed 05/30/18 Page 2 of 5
Case 1:18-cv-00553-RMC Document 32-7 Filed 05/30/18 Page 3 of 5
Case 1:18-cv-00553-RMC Document 32-7 Filed 05/30/18 Page 4 of 5
Case 1:18-cv-00553-RMC Document 32-7 Filed 05/30/18 Page 5 of 5
